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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES – GENERAL                               ‘O’
     Case No.        2:15-cv-05642-CAS (JCx)                              Date     July 5, 2019
     Title           MARCUS GRAY ET AL. V. KATY PERRY ET AL.



     Present: The Honorable              CHRISTINA A. SNYDER
              Catherine Jeang                               Not Present                           N/A
               Deputy Clerk                        Court Reporter / Recorder                   Tape No.

             Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                           Not Present                                           Not Present
     Proceedings:              (IN CHAMBERS) - MOTIONS IN LIMINE

I.       INTRODUCTION
       On July 1, 2014, Marcus Gray (P.K.A. Flame), Lecrae Moore (P.K.A. Lecrae),
Emanuel Lambert, and Chike Ojukwu filed this action alleging that the song “Dark
Horse” infringes upon plaintiffs’ copyright in the song “Joyful Noise.” Dkt. 1. Since
then, plaintiffs have amended their pleadings to add or dismiss various parties. The
operative Third Amended Complaint (“TAC”), filed on November 1, 2016, no longer
lists Moore as a plaintiff and alleges copyright infringement by Katheryn Elizabeth
Hudson (P.K.A. Katy Perry, hereinafter “Perry”); Jordan Houston (P.K.A. Juicy J);
Lukasz Gottwald (P.K.A. Dr. Luke); Sarah Theresa Hudson; Karl Martin Sandberg
(P.K.A. Max Martin); Henry Russell Walter (P.K.A. Cirkut); Kasz Money, Inc.; Capitol
Records, LLC; Kitty Purry, Inc.; UMG Recordings, Inc.; Universal Music Group, Inc.;
WB Music Corp.; BMG Rights Management (US) LLC; and Kobalt Music Publishing
America, Inc. Dkt. 172. A trial in this matter is currently scheduled to begin on July 16,
2019.
     The Court held a hearing on July 1, 2019. Having carefully considered the parties’
arguments, the Court finds and concludes as follows.




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II.   PLAINTIFFS’ MOTIONS IN LIMINE
      A.        Plaintiffs’ Corrected Motion in limine No. 1 (Dkt. 333, filed on June 12,
                2019)
      Defendants plan to argue at trial that plaintiffs’ evidence of widespread
dissemination through Myspace and YouTube is insufficient to show that it was
reasonably possible for defendants to have heard “Joyful Noise” because defendants
would have had to actively sought out “Joyful Noise” to access it through those mediums.
See Dkt. 369. Plaintiffs request an order precluding “defendants from arguing that an
absence of direct evidence of access defeats plaintiff’s ability to prove access” or that
defendants needed to take “affirmative action to hear the song.” Dkt. 333 at 3, 4.
Defendants represent that they do not intend to argue that plaintiffs must show direct
evidence of access and contend that there is nothing improper about their arguments
about how users listen to music on Myspace and YouTube because it goes to whether
there was a “reasonable possibility, not merely a bare possibility,” that defendants heard
“Joyful Noise.” Dkt. 369 at 4 (quoting Loomis v. Cornish, 836 F.3d 991, 995 (9th Cir.
2016) (emphasis added)).

       “Proof of access requires an opportunity to view or to copy plaintiff’s work.” L.A.
Printex Indus., Inc. v. Aeropostale, Inc., 676 F.3d 841, 846 (9th Cir. 2012) (internal
quotation marks omitted) (citing Three Boys Music Corp. v. Bolton, 212 F.3d 477, 482
(9th Cir. 2000)). “To prove access, a plaintiff must show a reasonable possibility, not
merely a bare possibility, that an alleged infringer had the chance to view the protected
work.” Id. (quoting Art Attacks Ink, LLC v. MGA Entm’t Inc., 581 F.3d 1138, 1143 (9th
Cir. 2009)). “Absent direct evidence of access, a plaintiff can prove access using
circumstantial evidence of either (1) a ‘chain of events’ linking the plaintiff’s work and
the defendant’s access, or (2) ‘widespread dissemination’ of the plaintiff’s work.” L.A.
Printex, 676 F.3d at 847 (quoting Three Boys Music, 212 F.3d at 482). A presumption of
copying is created when a copyright plaintiff establishes both reasonable access and
substantial similarity. See Three Boys Music, 212 F.3d at 486. The burden then “shifts
to the defendant to rebut that presumption through proof of independent creation.” Id.
(citation omitted).

      Plaintiffs contend that “whether any viewer, including defendants, had direct
access to and/or took specific affirmative action to hear the song on, for example,
YouTube, is not a required element of the proof of widespread dissemination[.]” Dkt.

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333 at 6. The Court observes, however, that courts routinely assess the characteristics
and practices of a defendant in determining whether a plaintiff has established access
through widespread dissemination. See e.g., Three Boys Music Corp. v. Bolton, 212
F.3d at 483 (finding that plaintiffs presented sufficient evidence of widespread
dissemination of an Isley Brothers song by showing, in part, that Bolton grew up listening
to groups like the Isley Brothers, that the infringed song was played on the radio in the
area where Bolton grew up, and that Bolton confessed to being a huge fan of the Isley
Brothers); Loomis, 836 F.3d at 998 (holding that plaintiff did not create a triable issue of
access as to whether its song was widely disseminated because “there was no evidence
that [the defendants] undertook any [ ] activity in that market that created a reasonable
possibility of access to [the plaintiff’s song]”). These cases demonstrate that whether
evidence of widespread dissemination establishes access depends, in part, on the
circumstances by which a particular defendant would have heard or viewed the plaintiff’s
work.

      Plaintiffs here bear not only the burden of showing widespread dissemination of
“Joyful Noise,” but also the burden of showing that such evidence demonstrates a
reasonable, not just bare, possibility that defendants heard “Joyful Noise” before creating
“Dark Horse.” Although it would be inappropriate for defendants to argue that plaintiffs
must show direct evidence of access to prevail on their claim for copyright infringement,
the Court finds that defendants’ arguments about whether it was likely that defendants
would have accessed “Joyful Noise” on Myspace or YouTube are appropriate and
relevant to the issue of whether defendants had a reasonable opportunity to hear “Joyful
Noise.” And in the event plaintiffs demonstrate a reasonable possibility of access and the
burden shifts to defendants to prove independent creation, defendants’ argument would
also be proper to show that they never availed themselves of the opportunity to hear
“Joyful Noise.” See 4 Melville B. Nimmer & David Nimmer, Nimmer on Copyright, §
13.02[A] (“The trier of fact may conclude that [the defendant] had, but did not avail
himself of, the opportunity to view, but this conclusion properly goes to the ultimate issue
of copying, and not to the subordinate issue of access.”).

      Accordingly, the Court DENIES plaintiffs’ Motion in limine No. 1.




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      B.        Plaintiffs’ Motion in limine No. 2 (Dkt. 328, filed on June 12, 2019)
       Plaintiffs seek an order precluding defendants from presenting any evidence or
argument regarding the amount of money Chike Ojukwu received for licensing the
musical beat for “Joyful Noise” to Marcus Gray, the amount of money he has received
for other beats, and whether plaintiffs have licensed any of their music. Dkt. 328 at 3.
Plaintiffs argue that this evidence is not relevant and, in the alternative, that its “probative
value is substantially outweighed by a danger of unfair prejudice, confusion of the issues,
and misleading the jury.” Id. Defendants argue that the evidence is relevant in
determining a hypothetical license fee. Dkt. 372 at 5. Specifically, King opines in his
rebuttal report that a hypothetical license fee for the beat at issue would be “quite low”
given that it had been licensed to Marcus Gray for $300. Id.
       In an action for copyright infringement, “[a]ctual damages are usually determined
by the loss in the fair market value of the copyright, measured by the profits lost due to
the infringement or by the value of the use of the copyrighted work to the infringer.”
Polar Bear Prods., Inc. v. Timex Corp., 384 F.3d 700, 708 (9th Cir. 2004) (internal
citations omitted). Actual damages may be based on a hypothetical lost license fee,
provided that the amount is not based on “undue speculation.” Id. at 709. To establish
the amount of a hypothetical lost license fee, evidence may be presented of a reasonable
market value for the license fee using a history of comparable licenses or “benchmark”
licenses in the industry. See id.; see also Oracle Corp. v. SAP AG, 765 F.3d 1081, 1093
(9th Cir. 2014).
       The Court finds that evidence of plaintiffs’ prior licensing agreements and the
amount Ojukwu received for licensing beats in the past, including the beat in “Joyful
Noise,” may be relevant in determining a hypothetical lost license fee. The Court does
not find that the risks of prejudice, jury confusion, or misleading the jury outweigh the
probative value of this evidence. Accordingly, the Court DENIES plaintiffs’ Motion in
limine No. 2.
      C.        Plaintiffs’ Motion in limine No. 3 (Dkt. 329, filed on June 12, 2019)
       Plaintiffs seek to exclude evidence and argument related to Ojukwu’s use of a free
program to create the beat for “Joyful Noise” and the fact that the song writers of “Joyful
Noise” agreed to their respective ownership shares of the “Joyful Noise” composition
after the filing of the instant lawsuit. Dkt. 329 at 3. Plaintiffs argue that this evidence is


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not relevant to the issues in the case and claim that the danger of prejudice, confusion,
and misleading the jury outweighs its probative value. Id. at 3–4. Defendants respond
that Ojukwu’s use of a free program to create the beat at issue is relevant to damages and
whether the beat is original and protected by copyright law. Dkt. 373 at 3. Defendants
also assert that timing of their ownership agreement is relevant to the validity and timing
of plaintiffs’ copyright registration for “Joyful Noise.” Id. at 3-4.
       The Court is persuaded by defendants that this evidence is relevant and does not
find that the risks of prejudice, jury confusion, or misleading the jury outweigh its
probative value. Accordingly, the Court DENIES plaintiffs’ Motion in limine No. 3.
III.   DEFENDANTS’ MOTIONS IN LIMINE
       A.        Defendants’ Motion in limine No. 1 (Dkt. 337, filed on June 12, 2019)
        Defendants seek to preclude plaintiffs from introducing evidence or argument
regarding their moral rights or any reputational harm caused by defendants’ alleged
infringement. Dkt. 337 at 2. Specifically, defendants seek to preclude evidence
regarding the “tarnish” to the “devoutly religious message of ‘Joyful Noise’” caused by
“witchcraft, paganism, black magic, and Illuminati imagery” evoked by “Dark Horse.”
Id. Defendants contend that this evidence is irrelevant, prejudicial, and an improper
attempt by plaintiffs to enforce “moral rights” under the Copyright Act. Id. Plaintiffs
respond in their opposition brief that they do not intend to assert a “moral rights” theory
at trial but that they should be permitted to offer evidence of the reputational damage they
suffered as part of their claim for lost profits. Dkt. 375 at 1.
        At the hearing, plaintiffs indicated that they do not have any evidence of lost
profits and that they are not going to pursue that theory of damages at trial. It thus
appears that evidence regarding any “tarnish” to “Joyful Noise” caused by “Dark Horse”
is irrelevant to the issues in this action. Accordingly, the Court GRANTS defendants’
Motion in limine No. 1.
       B.        Defendants’ Motion in limine No. 2 (Dkt. 338, filed on June 12, 2019)
       A presumption of copying is created when a copyright plaintiff establishes both
reasonable access and substantial similarity. See Three Boys Music, 212 F.3d at 486.
However, “[a]bsent evidence of access, a ‘striking similarity’ between the works may
give rise to a permissible inference of copying.” Baxter v. MCA., Inc., 812 F.2d 421, 423

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(9th Cir. 1987) (citation omitted). “At base, ‘striking similarity’ simply means that, in
human experience, it is virtually impossible that the two works could have been
independently created.” Nimmer on Copyright § 13.02[B]. In a technical area, such as
music, expert testimony is generally necessary to establish striking similarity. Id.

       Defendants contend that plaintiffs have thus far only argued that “Joyful Noise”
and “Dark Horse” are substantially similar and seek to exclude plaintiffs from changing
course and arguing at trial that “Joyful Noise” and “Dark Horse” are strikingly similar.
Dkt. 338. According to defendants, this argument is untimely and plaintiffs have no
musicologist expert opinion of striking similarity (as opposed to substantial similarity).
Plaintiffs respond that their musicology expert, Dr. Todd Decker, did not ascribe any
legal meaning to the term “substantially similar” as used in his expert report, and that
Decker did, in fact, opine that the similarities between the works “suggest[] significant
borrowing of musical material from ‘Joyful Noise’ by the creators of ‘Dark Horse.’”
Dkt. 375 at 4. Thus, according to plaintiffs, Decker’s expert testimony will support their
argument at trial that the works are strikingly similar. Id.

       The Court is not persuaded that Decker’s expert testimony qualifies as a “striking
similarity” opinion. Decker was not asked by plaintiffs to provide an opinion on whether
the musical material in the two songs are strikingly similar, dkt. 338-1 at 85, nor does he
opine in his report that the ostinatos in the two works are virtually identical or strikingly
similar, see dkt. 338-1 at 6–20. Although Decker opines that the ostinatos in the two
works share some identical features such as phrase length and rhythm, he also opines that
the two ostinatos are only “nearly identical” or “substantially similar” in pitch content
and timbre and that they differ in key and tempo as well as their final note. Id. at 9–14.
Although Decker ultimately concludes that the similarities in the two works “suggest”
musical borrowing, that opinion is not equivalent to an opinion that the two works are so
strikingly similar that it is “virtually impossible that the two works could have been
independently created[.]” Nimmer on Copyright § 13.02[B].

       Due to the absence of expert testimony that the two works are strikingly similar or
that copying is the only explanation for the similarities between the works, the Court
precludes plaintiffs from arguing at trial that the two works are so strikingly similar that
they need not prove access. Accordingly, the Court GRANTS defendants’ Motion in
limine No. 2.


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       C.        Defendants’ Motions in limine Nos. 4, 5, 6 (Dkts. 340, 341, 342 filed on
                 June 12, 2019)
       Defendants seek an order excluding plaintiffs from introducing evidence of: (1)
plaintiffs’ live performances of “Joyful Noise”; (2) radio and TV interviews with
plaintiffs featuring “Joyful Noise”; and (3) critical acclaim of “Joyful Noise” or Our
World Redeemed within the Christian music community. Dkts. 340–342. Defendants
contend that this evidence is not relevant to the issue of access because, according to
defendants, widespread dissemination requires a showing of “an appreciable level of
national saturation,” which can only be proven by demonstrating “commercial success”
and “distribution through radio, television, and other relevant mediums.” Dkt. 340
(quoting Loomis, 836 F.3d at 994, 997). In the absence of national saturation, defendants
contend that the only other way plaintiffs can demonstrate widespread dissemination is
through “saturation in a relevant market in which both the plaintiff and the defendant
participate.” Id. (quoting Loomis, 836 F.3d at 997). According to defendants, plaintiffs’
evidence of performances, interviews, and critical acclaim are not relevant because they
demonstrate neither national saturation nor saturation in a market that defendants
participated in because defendants did not participate in the Christian music market.

       The Court has previously found defendants’ narrow reading of Loomis to be
misplaced. See Dkt. 314. In its decision on defendants’ motion for reconsideration of
denial for summary judgment, the Court found that, despite defendants’ arguments to the
contrary, Loomis did not impose new requirements for establishing widespread
dissemination:

       Because plaintiffs did not show commercial success or saturation in the
       relevant market, defendants argue that Loomis required the Court to grant
       defendants’ motion for summary judgment. However, Loomis did not make
       any such holding. Rather, the Ninth Circuit stated “[t]he evidence required to
       show widespread dissemination will vary from case to case.” 836 F.3d at 997
       (emphasis added).

Id. at 5.

     Despite the Court’s previous ruling, defendants continue to insist that Loomis
imposes new requirements for demonstrating access in a copyright infringement case.


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The Court reiterates that “[t]he evidence required to show widespread dissemination will
vary from case to case.” Loomis, 836 F.3d at 997 (emphasis added). The Court finds
that the three categories of evidence that defendants seek to exclude are relevant to
widespread dissemination and whether defendants had a reasonable opportunity to hear
“Joyful Noise.” Whether this evidence proves that defendants had a reasonable
opportunity to hear “Joyful Noise” is a matter for cross-examination and argument.
Accordingly, the Court DENIES defendants’ motions in limine to the extent they seek to
exclude plaintiff’s evidence on the grounds that it does not show nationwide saturation or
saturation in a relevant market.

       Defendants also argue that this evidence is irrelevant because plaintiffs cannot
prove that defendants attended any of plaintiffs’ concerts, heard plaintiffs’ song on the
radio or TV, or participated in the Christian music market. The Court is not persuaded.
A plaintiff need not establish that a defendant actually viewed and knew of the plaintiff’s
work to prevail on his claim for copyright infringement. See Nimmer on Copyright, §
13.02[A]. Such a requirement would ignore “the underlying policy considerations that
permit proof of access (and substantial similarity) as substitutes for direct proof of
copying.” Id. “Just as it is virtually impossible to offer direct proof of copying, so it is
often impossible for a plaintiff to offer direct evidence that defendant . . . actually viewed
or had knowledge of the plaintiff’s work” because “[s]uch viewing will ordinarily have
occurred, if at all, in a private office or home outside of the presence of any witnesses
available to the plaintiff.” Id. Thus, “[f]or this reason, it is clear that, even if evidence is
unavailable to demonstrate actual viewing, proof that the defendant had the opportunity
to view (when combined with probative similarity) is sufficient to permit the trier to
conclude that copying as a factual matter has occurred—in other words, the factfinder has
the discretion to reject even the uncontradicted testimony of [the defendant] that he had
never in fact viewed the plaintiff’s work.” Id. Thus, the issue of whether defendants
heard or knew about “Joyful Noise”—either by attending plaintiffs’ concerts, listening to
the song on the radio or TV, or learning of “Joyful Noise” through its various award
nominations—is a question of fact to be decided by the jury.

       Defendants also seek to exclude evidence of plaintiffs’ concert performances on
the grounds that plaintiffs lack any admissible evidence of those performances. Plaintiffs
respond that they will establish a foundation for all evidence of concert performances
through: (1) Marcus Gray’s testimony about his personal knowledge of the concerts at
which “Joyful Noise” was played; and (2) Crystal Gray’s testimony based on her

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knowledge as Marcus Gray’s manager. Dkt. 375 at 8–9. The Court finds no reason to
exclude testimony about plaintiffs’ concert performances at this juncture and reserves
ruling on the admissibility of this testimony until after the witnesses have had an
opportunity to lay a foundation for their testimony.

       Defendants also contend that plaintiffs’ evidence of radio and TV interviews is
inadmissible because plaintiffs will not lay a proper foundation for this evidence and
because it contains hearsay. Plaintiffs respond that Marcus Gray and Crystal Gray will
offer testimony on this subject and that they have personal knowledge regarding the
details of these interviews. Dkt. 375 at 11. As for defendants’ hearsay objection,
plaintiffs argue that the fact that “Joyful Noise” played in the background of these
interviews is not an assertion but rather an observable occurrence. Id. The Court agrees
with plaintiffs that testimony about “Joyful Noise” playing in the background during
radio and television interviews is not hearsay as it is based on the witnesses’s personal
observations and does not concern a statement offered in evidence to prove the truth of
the matter asserted. See Federal Rule of Evidence 801.

      Accordingly, the Court DENIES defendants’ Motions in limine Nos. 4, 5, and 6,
without prejudice to their raising objections as to the foundation of Marcus Gray’s or
Crystal Gray’s testimony on plaintiffs’ concert performances.

      D.        Defendants’ Motion in limine Nos. 3, 9 (Dkts. 339, 345 filed on June 12,
                2019)
                 i.     Testimony about Sales

       Defendants represent that plaintiffs have failed to adduce any evidence of sales of
“Joyful Noise” or the album it appeared on, Our World Redeemed, and seek an order
precluding plaintiffs from offering testimony about such sales in lieu of records
evidencing those sales. Dkt. 339 at 5. Specifically, defendants seek to exclude testimony
from Marcus Gray about any purported sales because such testimony would not be based
on personal knowledge and would lack foundation. Id. Defendants also seek to exclude
any testimony about the fact that plaintiffs’ former record label refused to provide
plaintiffs with records of any sales. Id. According to defendants, plaintiffs could have
subpoenaed these records from Gray’s record label yet declined to do so, thus this



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testimony would be confusing to the jury and would result in the jury speculating about
what those “hypothetical records might say.” Id. at 6.

       Plaintiffs respond that, although they do not have evidence of the exact number of
sales, they intend to introduce circumstantial evidence of sales through the testimony of
Marcus Gray’s wife, Crystal Gray. Dkt. 375 at 5. In light of plaintiffs’ representation
that Marcus Gray will not offer testimony about sales, the Court DENIES as moot
defendants’ motion to exclude this testimony.

       Plaintiffs also argue that they only intend to use the record label’s refusal to
provide sales records as rebuttal evidence in the event plaintiffs argue that defendants
have no evidence regarding sales. Id. According to plaintiffs, “[d]efendants cannot
highlight [p]laintiffs’ inability to come forward with specific sales numbers, while at the
same time seek to preclude [p]laintiffs from explaining to the jury why they were unable
to do so.” Id. at 6. The Court finds that testimony about the record label’s refusal to
provide sales records would be appropriate to rebut an assertion that plaintiffs lack any
evidence of sales. To the extent defendants wish to establish that plaintiffs could have
obtained this information through a subpoena, they may elicit that testimony through
cross-examination. In light of plaintiffs’ representation that they only intend to offer
testimony about the record label’s refusal to provide sales records as rebuttal evidence,
the Court DENIES defendants’ motion to exclude this testimony.

            ii.         Billboard Charts as Evidence of Sales

       Defendants also seek to preclude plaintiffs from using Billboard charts as evidence
of sales because the charts do not “reveal the amount of units” of sales of a song or
album. Dkt. 345 at 6. Defendants represent that Billboard rankings are based on various
different metrics, not sales alone, and therefore, the charts are not evidence of sales. Id.
Plaintiffs respond that, although the Billboard charts “do not establish definitively how
many albums or singles were sold,” the charts on which “Joyful Noise” and Our World
Redeemed appeared ranked songs and albums based on physical and digital album sales
as well as digital downloads. Dkt. 375 at 23. In lieu of providing evidence about the
actual number of sales, plaintiffs contend that they should be allowed to introduce the
Billboard charts as circumstantial evidence that “Joyful Noise” and Our World Redeemed
experienced commercial success. Id. at 24.


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        The Court has reviewed the cases in which commercial success was analyzed in
determining whether the plaintiff had established widespread dissemination of a work. In
each of those cases, the approximate number of sales of the work was analyzed to
determine its reach. See Art Attacks Inc. v. LLC v. MGA Entertainment Inc., 581 F.3d
1138, 1144 (9th Cir. 2009) (2000 sales per year insufficient to establish widespread
dissemination); Rice v. Fox Broadcasting Co., 330 F.3d 1170, 1178 (9th Cir. 2003)
(19,000 sales over 13 years insufficient to establish widespread dissemination); Jason v.
Fonda, 526 F. Supp. 774, 776 (C.D. Cal. 1981) (sales of 2,000 copies nationwide did not
create more than a bare possibility of access). Here, the Billboard charts do not reveal the
number of sales of either “Joyful Noise” or Our World Redeemed, and it appears that
Billboard has refused to reveal either its methodology or the data underlying its rankings.
It is thus unknown whether plaintiffs sold one hundred copies or one million copies of
“Joyful Noise.” The Billboard charts are therefore not probative of whether “Joyful
Noise” was commercially successful, or, more precisely, whether it was widely
disseminated through sales.

       Accordingly, the Billboard charts may not be introduced for the purpose of
establishing that “Joyful Noise or Our World Redeemed experienced commercial success
or a high number of sales.

           iii.         Relevance

       Defendants also contend that the Billboard charts should be excluded because they
are not relevant to access. The Court finds that the Billboard charts are relevant to access
for the same reasons set forth in the Court’s order on Motions in Limine Nos. 4, 5, and 6.
Specifically, the Court finds that the appearance of “Joyful Noise” and Our World
Redeemed on Billboard charts is relevant to the issue of access because Billboard is a
popular music publication—as such, defendants may have learned about “Joyful Noise”
by seeing it on a Billboard chart. The Billboard charts also indicate that those works
were relatively popular within the Christian music market—which may be relevant
depending on the extent to which defendants participated in that market.

           iv.          Hearsay

    Defendants also seek to exclude any tables prepared by Billboard which
summarize the instances when “Joyful Noise” and Our World Redeemed appeared on a

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Billboard chart prior to the creation of “Dark Horse.” Dkt. 345 at 7. Defendants contend
that these summary tables contain hearsay in that they are being offered to prove the truth
that “Joyful Noise” and Our World Redeemed appeared on the Billboard chart in the
position and on the date stated. Id. Plaintiffs respond that the summary tables were
created and produced by Billboard in response to a subpoena and were authenticated
during a deposition with a representative from Billboard. Dkt. 375 at 24. The Billboard
representative testified that he researched the title “Joyful Noise” and Our World
Redeemed in the Billboard internal database and pulled the charts on which the song and
album appeared on a week-by-week basis. Dkt. 375-4 at 16. When asked why Billboard
did not just produce the charts themselves, the representative testified that “it’s easier to
digest a week by week summary than to just find it on a chart if we just provided images,
and not every week of those charts had a printed chart that accompanied it.” Id. at 18.
Plaintiffs do not dispute that the summary charts constitute hearsay but assert that the
business records exception should apply because the data and information underlying the
summary tables were kept by Billboard in the ordinary course of business. Defendants
respond that the summary tables are not business records because they were prepared for
purposes of litigation. Dkt. 345 at 8.

        Federal Rule of Evidence 803(6) provides that “records of a regularly conducted
activity” are exceptions to the rule against hearsay if, among other requirements, “the
record was kept in the course of a regularly conducted activity of a business . . .” The
summary charts do not fall within this exception because, although the summary charts
appear to be based on business records, the summary charts themselves were prepared for
the purposes of litigation and were not kept in the course of a regularly conducted
activity. And although Federal Rule of Evidence 1006 provides that a “proponent may
use a summary, chart, or calculation to prove the content of voluminous writings,
recordings, or photographs that cannot be conveniently examined in court,” the proponent
must nonetheless “make the originals or duplicates available for examination or copying .
. . by other parties at a reasonable time and place.” See also Paddack v. Dave
Christensen, Inc., 745 F.2d 1254, 1259 (9th Cir. 1984). At the hearing, it became
apparent that at least some of the data and records underlying Billboard’s summary charts
were never made available to the parties for inspection and that plaintiffs will not be able
to obtain those records before trial. Accordingly, the Court will exclude the summary
charts unless plaintiffs obtain all the underlying business records from Billboard prior to
trial.


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       At the hearing, however, plaintiffs indicated that they may be able to provide
evidence of some of the weekly Billboard charts through screenshots of the Billboard
website. The Court reserves ruling on the admissibility of those weekly Billboard charts
until plaintiffs have had an opportunity to lay a foundation for that evidence.

       Accordingly, the Court GRANTS in part and DENIES in part defendants’
Motions in limine Nos. 3 and 9. Plaintiffs may offer testimony about the record label’s
refusal to provide sales records as rebuttal evidence. Plaintiffs may not introduce the
Billboard charts for the purpose of establishing that “Joyful Noise or Our World
Redeemed experienced commercial success or a high number of sales, but they may offer
the Billboard charts for the purpose of showing that “Joyful Noise” and Our World
Redeemed appeared on those charts and to show that those works were relatively popular
in the Christian music market. The Court will exclude the summary charts created by
Billboard for purposes of this litigation unless plaintiffs obtain all the underlying business
records from Billboard. The Court reserves ruling on the admissibility of any weekly
Billboard charts until plaintiffs have had an opportunity to lay a foundation for that
evidence.

      E.        Defendants’ Motion in limine No. 7 (Dkt. 343, filed on June 12, 2019)
      Defendants seek to preclude plaintiffs from introducing screenshots of archived
versions of Lecrae Moore’s and Marcus Gray’s Myspace pages captured by the Internet
Archive. Dkt. 343 at 4. It appears that plaintiffs plan to introduce these screenshots to
show the play counts of “Joyful Noise” on Moore’s and Gray’s Myspace pages.
Defendants argue that the screenshots are unreliable, lack foundation, contain hearsay,
and that the conclusions drawn by plaintiffs from the screenshots are speculative. Id.
The screenshots at issue are displayed below:




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Dkt. 343-1 at 22–24.
             i.         Foundation

       Defendants claim that plaintiffs will not be able to lay a proper foundation for the
contents of the screenshots because they “cannot establish that the pages were, in fact,
created by Gray and Moore; that the ‘Joyful Noise’ audio file identified on the page was
the song at issue in this case or was even available to listen to[.]” Dkt. 343 at 5.
Plaintiffs argue that Gray and Moore can testify to the fact that they created the pages and
uploaded “Joyful Noise” to those pages. Dkt. 375 at 14. In the alternative, plaintiffs also
contend that “anyone familiar with how the page looked could identify it.” Id. It appears
that both Gray and Moore will be able to lay a foundation for the contents of the
screenshots. Moreover, the Court is not persuaded that there is a genuine dispute as to
the authenticity of these screenshots and the fact that these Myspace pages were created
by Gray and Moore.




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            ii.         Reliability and Speculation

       Defendants contend that the “play counts” are “entirely unreliable and speculative”
because a play count “does not identify any one person in particular as having initiated
playback or listened to the song in question” and “does not account for or foreclose that
the ‘play counts’ were improperly inflated by bots or other online crawlers.” Dkt. 347 at
6. Plaintiffs respond that the parties are working on a stipulation related to how “plays”
are counted and what the meaning of a “play count” is. Dkt. 375 at 14. It appears that
defendants are not contesting the authenticity of the number of play counts displayed on
the screenshots but rather the meaning of those play counts. This concern goes to the
weight of the evidence, not its admissibility, and can be addressed by defendants through
cross-examination.

           iii.         Hearsay

       Defendants also argue the screenshots contain hearsay because the “Internet
Archive cannot testify to the truth of the contents of the screenshots; e.g., the Internet
Archive cannot say what the song allegedly was or that the number of “plays” stated on
the pages accurately reflects the number of times the song was, in fact clicked on.” Dkt.
347 at 5. Plaintiffs contend that the screenshots are admissible to prove the truth of their
contents under the residual exception to the hearsay rule. Federal Rule of Evidence 807
provides that a hearsay statement not otherwise covered by an exception in Rule 803 or
804 is admissible if: “(1) the statement has equivalent circumstantial guarantees of
trustworthiness; (2) it is offered as evidence of a material fact; (3) it is more probative on
the point for which it is offered than any other evidence that the proponent can obtain
through reasonable efforts; and (4) admitting it will best serve the purposes of [the
Federal Rules] and the interests of justice.” Fed. R. Evid. 807.

       As an initial matter, the Court is not persuaded that the Myspace play counts are
hearsay. See United States v. Lizarraga-Tirado, 789 F.3d 1107, 1109–10 (9th Cir. 2015)
(explaining that Rule 801 only applies to “a person’s oral assertion, written assertion, or
nonverbal conduct” and holding that “machine statements aren’t hearsay”) (emphasis in
the original). But even assuming that the play counts are hearsay, the Court nonetheless
finds that the play counts of “Joyful Noise” on the Myspace screenshots are admissible
through the residual hearsay exception. Here, defendants do not do not dispute that the
screenshots are from the Internet Archive and that the screenshots accurately reflect the

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content of the Myspace pages at the time the screenshots were captured. The screenshots
clearly indicate that the name of the song is “Joyful Noise” and provide the number of
times that “Joyful Noise” has been played. The number of Myspace plays of “Joyful
Noise” also goes to a material fact in the case—namely, whether “Joyful Noise” was
widely disseminated. And given defendants’ representation at the hearing that Myspace
is “mostly defunct,” it does not appear that plaintiffs would be able to obtain this
information from any other source. The Court also finds that admitting these screenshots
will serve the purposes of the Federal Rules of Evidence and the interests of justice. The
Court thus finds that, to the extent that the play counts are even hearsay, the requirements
of Rule 807 are satisfied.

         In accordance with the foregoing, the Court DENIES defendants’ Motion in limine
No. 7.
         F.        Defendants’ Motion in limine No. 8 (Dkt. 344, filed on June 12, 2019)
       Defendants seek to exclude a screenshot produced from the Internet Archive of a
“Joyful Noise” music video on YouTube. Dkt. 344 at 4. Defendants argue that the
document was produced in an untimely manner after discovery closed. Id. Defendants
assert that five different YouTube videos were authenticated and produced during
discovery and that plaintiffs did not disclose this sixth YouTube video until June 11,
2019. Id. at 5-6. Defendants argue that the document lacks foundation, has not been
authenticated, is hearsay, and will severely prejudice defendants. Id. at 7-8.
       Plaintiffs oppose defendants’ motion by arguing that the document was produced
on May 13, 2016, more than two years before the discovery cut-off date of May 25, 2018.
Dkt. 375 at 16; Dkt. 267. Furthermore, plaintiffs explain that both parties were acting
under a mutual misapprehension with respect to the identity of the official YouTube
video for Joyful Noise. Id. at 17. As a result, the fifth video identified in the Joint
YouTube Stipulation was mistakenly identified as the official video. Id. Defendants
contest this fact and argue that plaintiffs have not pursued any discovery on this video,
that this video was not included in the parties’ “YouTube stipulated facts,” nor did
plaintiffs proffer this particular video in their opposition to defendants’ motion for
summary judgment. Dkt. 387-1 at 5.
     It appears that defendants were made aware of the official YouTube video as early
as May 13, 2016, and that defendants were not prevented from conducting any discovery

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in relation to this screenshot. Id. Plaintiffs contend that they can and will properly
authenticate the screenshot and the underlying YouTube video through affidavits, judicial
notice, and live testimony. Id. at 19. In addition, plaintiffs argue that the screenshot is
not hearsay since it is not a statement at all and to the extent it is offered for the truth of
the matter asserted, the screenshot is admissible under the residual exception to the
hearsay rule. Id. at 20.
       The Court is not persuaded by defendants’ contention that they will be unfairly
prejudiced if this screenshot is admitted into evidence. Moreover, it appears that
plaintiffs will be able to lay a proper foundation for this evidence at trial. Accordingly,
the Court DENIES defendants’ Motion in limine No. 8, without prejudice to their raising
objections as to the foundation of this evidence at trial.
      G.        Defendants’ Motion in limine No. 10 (Dkt. 346, filed on June 12, 2019)
       Defendants seek to exclude evidence that Perry performed the song “I Kissed a
Girl” at the 51st GRAMMY awards on February 8, 2009, which is the same year that Our
World Redeemed was nominated in the category of Best Rock or Rap Gospel Album.
Dkt. 346 at 4. Defendants contend that evidence about this performance is irrelevant to
the issue of widespread dissemination because “Joyful Noise” was not played or
mentioned during the award show and would result in the jury speculating that Katy
Perry would have learned about “Joyful Noise” during the award show. Id. at 5, 7.
Plaintiffs respond that they “do not intend, and have never indicated that they intend, to
try this case by proving that Katy Perry attended or performed at the GRAMMYs. Dkt.
375 at 29. At the hearing, counsel for plaintiffs confirmed that they will not introduce
evidence about Perry’s performance at the 51st GRAMMY awards. Accordingly, the
Court DENIES as moot defendants’ motion to exclude evidence about Perry’s
performance at the 51st GRAMMY awards.

      Defendants also seek to exclude evidence that Gottwald was a voting member of
the GRAMMYs the same year that Our World Redeemed was nominated for an award.
Dkt. 346 at 4. Plaintiffs contend that this fact is relevant because “the GRAMMYs
served as a third-party intermediary linking Plaintiffs and Defendants” and thus “the jury
may impute access where there is evidence that a third party (the GRAMMYs) with
whom both Plaintiffs and Defendants were dealing, concurrently, had possession of
‘Joyful Noise.’” Dkt. 375 at 26. According to defendants, plaintiffs had previously
indicated that they were not going to offer any evidence or argument regarding access

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through a chain of events. See Dkt. 346-1, Ex. 2 at 14. Plaintiffs also do not dispute
defendants’ representation that “Joyful Noise” was not made available to GRAMMY
voters.

       As it appears that plaintiffs have no evidence demonstrating that Gottwald would
have been able to access the song because he was a voting member of the GRAMMYs,
the Court finds that plaintiffs’ chain of events theory is too speculative to establish a
reasonable possibility of access and would confuse and distract the jury. Accordingly,
plaintiffs may not introduce evidence of the fact that Gottwald was a voting member of
the GRAMMYs for the purpose of demonstrating that he could have obtained access to
“Joyful Noise” through the GRAMMYs.

        At the hearing, however, plaintiffs explained that Gottwald’s status of a voting
member was also relevant to access because he received a list of nominated songs, which
included “Joyful Noise,” and therefore may have had more of an incentive to seek out
“Joyful Noise” on the internet. Although the Court is not persuaded that Gottwald’s
status of a voting member of the GRAMMYs is relevant to establishing that “Joyful
Noise” was widely disseminated, this fact may become relevant in the event Gottwald
testifies that he did not know, or have any reason to know, about plaintiffs, “Joyful
Noise,” or Our World Redeemed. Accordingly, the Court reserves ruling on whether
evidence about Gottwald’s status as a voting member of the GRAMMYs may be received
in rebuttal until after Gottwald has testified at trial.

      H.        Defendants’ Motion in limine No. 11 (Dkt. 347, filed on June 12, 2019)
       Defendants seek an order precluding any argument or evidence regarding
defendants’ general wealth or the relative wealth of plaintiffs and defendants. Dkt. 347 at
4. Defendants acknowledge that plaintiffs have agreed that such evidence is not relevant
and that they generally do not intend to offer such evidence, however, defendants claim
that plaintiffs will not agree to a “blanket prohibition” on such argument or evidence. Id.
Accordingly, defendants argue that evidence of defendants’ financial condition should be
precluded because it is irrelevant, unduly prejudicial, and may improperly influence the
jury. Id. at 5-6.
      Plaintiffs respond that they have no present intention of offering evidence of
defendants’ general wealth, however, plaintiffs seek permission to comment on
defendants’ industry experience and success as context for evidence offered in support of

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plaintiffs’ claim. Dkt. 375 at 29. Plaintiffs contend that it is “unavoidable” for jurors to
perceive defendants’ wealth. Id. at 30. Plaintiffs intend to present evidence on the profits
of “Dark Horse” in support of their claim for damages, and plaintiffs claim that these
profits will necessarily reveal the defendants’ vast financial resources. Id.
       At the hearing, plaintiffs explained that defendants’ success is relevant to
establishing that defendants listen to a wide variety of music. It appears, however, that
plaintiffs can elicit the fact that defendants listen to a wide variety of music without
suggesting that the defendants are successful or wealthy. The Court thus finds that
defendants’ wealth or success are irrelevant to plaintiffs’ claim for copyright
infringement, except possibly the question of damages. Accordingly, the Court
GRANTS Defendants’ Motion in limine No. 11.
IV.   PLAINTIFFS’ DAUBERT MOTIONS
      A.        Plaintiffs’ Daubert Motion No. 1 (Dkt. 330, filed on June 12, 2019)
       Defendants’ musicology expert, Lawrence Ferrara, is expected to provide
testimony at trial regarding: (1) the quantitative value of the amount of the music at issue
in the “Dark Horse” composition; (2) the qualitative value of the music at issue within the
context of the overall musical and lyrical “Dark Horse” composition; and (3) his expert
opinion that the value of music at issue in the “Dark Horse” composition should be less
than 3.6%. Dkt. 330-1 (“Ferrara Report”) at 1, 4. Plaintiffs seek to exclude this
testimony on the grounds that it is outside his area of qualifications and relies on a novel,
untested, and untestable method of percentage valuation. Dkt. 330 at 1.
       Under Federal Rule of Evidence 702, a trial judge acts as a “gatekeeper” to ensure
that expert testimony “is not only relevant, but reliable.” Daubert v. Merrell Dow
Pharmaceuticals, Inc., 509 U.S. 579, 589 (1993). A trial judge executes this “gatekeeper”
role regardless of whether expert testimony is scientific or non-scientific, with the
purpose of ensuring that “an expert, whether basing testimony upon professional studies
or personal experience, employs in the courtroom the same level of intellectual rigor that
characterizes the practice of an expert in the relevant field.” Kumho Tire Co., v.
Carmichael, 526 U.S. 137, 152 (1999).
       The Supreme Court in Daubert enumerated a list of factors useful for evaluating
the reliability of an expert. These factors include: (1) whether the theory or technique can
be (and has been) tested, (2) whether the theory or technique has been subjected to peer

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review and publication, (3) whether there is a known or potential error rate, and (4)
whether the theory or technique is generally accepted in the relevant community.
Daubert, 509 U.S. at 587-89. When an expert’s testimony is not scientific or technical,
the reliability of that testimony need not be based on “a particular methodology or
technical framework,” but instead can be found reliable based on the expert’s knowledge
and experience alone. Hangarter v. Provident Life & Acc. Ins. Co., 373 F.3d 998, 1018
(9th Cir. 2004).
       In addition to evaluating an expert’s reliability, a trial court must also determine
whether an expert has “appropriate qualifications – i.e., some special knowledge, skill,
experience, training or education.” United States v. Hankey, 203 F.3d 1160, 1168 (9th
Cir. 2000). “Rule 702 contemplates a broad conception of expert qualifications.”
Hangarter, 373 F.3d at 1015.
       Ferrara is a professor of music at New York University’s Steinhardt School and
has taught music for over 40 years. Ferrara Report at 1; Dkt. No. 374-1 (“Ferrara Decl.”)
at 8. He has taught courses in music theory and analysis, music history, music criticism,
and aesthetic inquiry. Ferrara Decl. at 14–15. He has written and published books and
articles regarding music analysis and methodologies in music research. Id. at 14. He has
also provided deposition or trial testimony in eight cases in the last five years. Id. at 16.
Based on this experience, defendants claim that Ferrara is qualified to testify on the
musicological value of the music at issue in “Dark Horse.” Dkt. 374 at 12.
       Plaintiffs argue that Ferrara’s method for calculating the monetary value of the
allegedly infringed portions of “Dark Horse” is “novel, untested, and untestable.” Dkt.
330 at 6. Defendants respond that Ferrara will not opine on the monetary value of the
ostinato from “Joyful Noise” that was allegedly infringed1 but rather on the musical
significance of that ostinato to the “Dark Horse” composition as a whole. Dkt. 374 at 2.
Plaintiffs appear to be incorrect in their assertion that Ferrara “purports to quantify the
monetary value of plaintiff’s song.” Dkt. 330 at 5. Ferrara’s report is cabined to his
opinion about the musicological value of the allegedly infringed portions of “Dark



1
      For ease of reference, and not as a comment on the merits of the case, the Court
hereinafter uses the phrase “‘Joyful Noise’ ostinato” to refer to the ostinato that was
allegedly copied from “Joyful Noise.”
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Horse”—he offers no opinion about the monetary value of the ostinato from “Joyful
Noise.”
        According to Ferrara’s report, the proper method for assessing the quantitative
value of the “Joyful Noise” ostinato is to identify the total number of notes heads in
“Dark Horse,” subtract out duplicative “Sub Bass” parts, and then identify all note heads
in all iterations and variations of the ostinato at issue. Dkt. 374 at 9. Based on this
method, Ferrara concluded that the “Joyful Noise” ostinato constitutes 7.2% of the total
note heads in the “Dark Horse” composition. Id. Ferrara also explains that because the
lyrics make up 50% of the “Dark Horse” composition, the “Joyful Noise” ostinato is
3.6% of the combined music and lyrics of the “Dark Horse” composition. Id. Ferrara
also provides a qualitative value assessment of the “Joyful Noise” ostinato in “Dark
Horse,” opining that the “Joyful Noise” ostinato is not as important as another ostinato in
“Dark Horse” and concluding that the value of the “Joyful Noise” ostinato is less than
3.6% of the “Dark Horse” composition. Id. at 10-11.
       The Court finds that Ferrara is qualified to provide an opinion about the
quantitative and qualitative musicological value of the music at issue in “Dark Horse.”
Ferrara has the necessary qualifications to engage in the aforementioned analysis, and
despite plaintiffs’ contention otherwise, Ferrara’s methods have been peer-reviewed.
Dkt. 374 at 14–15. Ferrara’s analysis, which is based on his expertise and peer-reviewed
methodology, may be helpful to the factfinder in determining the musicological value of
the “Joyful Noise” ostinato in the “Dark Horse” composition.
       Plaintiffs cite Fahmy v. Jay-Z, No: 2:07-cv-05715-CAS, 2015 WL 5680299 (C.D.
Cal. Sept. 24, 2015), in support of their argument that Ferrara may not offer precise
percentages of the purported monetary value of the music at issue. In Fahmy, the
defendants’ expert, Dr. Jason King, had estimated that “use of [plaintiff’s song]
contributed between .004% and .03% to defendants’ total concert revenues . . . and
between .0071% and .0714% to the success for the album.” Id. at *3. The Court noted
that Dr. King had not explained how those numbers were calculated and determined that
Dr. King “may not testify regarding the percentage values by which he quantifies these
factors” because his method “has not been peer-reviewed by any journal nor has he
established that it is generally accepted in the relevant field.” Id. at *4. The Court also
found that “given the complexity of apportioning profits in a copyright infringement case,
it may be misleading to present the jury with numbers as remarkably precise as those in
King’s report.” Id. at 5. The Court finds that the troubling aspects of King’s testimony in

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Fahmy will not be presented by Ferrara’s proposed testimony. First, Ferrara will not
opine on the monetary value of the “Joyful Noise” ostinato. Second, unlike King, Ferrara
does disclose an objective, replicable, and peer-reviewed method for calculating his
percentages. And finally, unlike the percentages offered by King, Ferrara’s opinion that
the value of the “Joyful Noise” ostinato is less than 3.6% is not “remarkably precise.”
Thus, the Court is not persuaded that Ferrara’s opinion must be excluded for the same
reasons that King’s opinion was excluded in the Fahmy case.
      Accordingly, the Court DENIES plaintiffs’ motion to exclude Ferrara’s expert
testimony.
      B.        Plaintiffs’ Daubert Motion No. 2 (Dkt. 331, filed on June 12, 2019)
      Plaintiffs seek to exclude or limit the testimony of defendants’ expert Jason King
regarding the impact of various factors, including the “Joyful Noise” ostinato, to the
commercial success of “Dark Horse” and the PRISM album. Dkt. 331. Plaintiffs contend
that King’s conclusions are prejudicial and the product of unreliable methods. Id. at 1.

        King is an associate professor at the Clive Davis Institute of Recorded Music at
New York University. Dkt. 331-1 (“King Report”) at 4. As a professor at the Clive
Davis Institute, King has helped to establish a curriculum focusing on the study of hip-
hop, pop, electronic music, and the recording industry. Id. He has taught courses on the
labeling and branding of celebrities, including a course that used articles on Katy Perry.
Id. at 6. He has also worked and consulted with numerous individuals and companies in
the music recording industry. Id. at 9. Based on this experience, King claims to have
specialized knowledge regarding the historical, cultural, and social aspects of popular
music, celebrity, and stardom. Id. at 4. He also claims to have expertise in the business
of marketing and branding, particularly as it relates to music. Id.

       Defendants intend to present King’s testimony regarding the various factors that
have contributed to the commercial success of “Dark Horse” and PRISM. In his expert
report, King asserts that it is possible to retroactively deconstruct the factors that
contributed to the success of a particular song or sound recording. Id. at 8. From
evidence such as marketing campaigns, chart successes, and historical and journalistic
discussions of a song, King identifies and prioritizes the factors that contributed to the
song’s success. Id. at 8.


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       In applying his method to “Dark Horse,” King identifies eight factors that drove
the success of the song and prioritizes them as either primary, secondary, or tertiary
factors. Id. at 17-25. The factors include: (1) celebrity star power/branding, (2)
marketing of the single, (3) hook, (4) vocal performances, (5) instrumental elements other
than the “Joyful Noise” ostinato, (6) production/arrangement, (7) lyrics, and (8) the
“Joyful Noise” ostinato. Id. at 25. King explains in his report that “Dark Horse” is “pop
fusion” music compromised of multiple styles and that one of the contributing factors to
the success of “Dark Horse” was the novelty of its offbeat fusion of sounds. Id. at 3. He
also explains that PepsiCo, Inc. promoted PRISM through a social media campaign which
led to significant radio play prior to a label push. Id. at 4. Accordingly, King concludes
that celebrity star power/branding and marketing of the single were the most significant
factors contributing to the success of “Dark Horse.” Id. at 25. While King admits that
the “Joyful Noise” ostinato is one of the elements that helped drive the success of “Dark
Horse,” he concludes that the ostinato is a tertiary factor at best and contributed only a
“small, insignificant percentage” to the success of “Dark Horse” and an even smaller
amount to the success of PRISM. Id. at 25, 29.

       Plaintiffs argue that King’s conclusion that the “Joyful Noise” ostinato contributed
a “small, insignificant percentage” to the success of “Dark Horse” and PRISM should be
excluded because his conclusion attempts to quantify the significance of that ostinato
through an “unsupportable and misleading mathematical approach.” Dkt. 331 at 5. In
support of their argument, plaintiffs cite to the Fahmy case mentioned above in which
King was precluded from testifying on precise percentage ranges to quantify the
importance of factors he deemed relevant. Id. at 3–4. Here, plaintiffs contend that King
is attempting to testify in a similar manner and there is no possible way to test the validity
of a “small, insignificant percentage.” Id.

       As a preliminary matter, the Court finds that King is qualified to testify regarding
cultural and social factors that contribute to the success of musicians and their songs.
The Court also finds that King is qualified to engage in a comparative discussion of these
factors, including a discussion of the relative influence of defendants’ use of “Joyful
Noise” in comparison to other factors contributing to the success of “Dark Horse.” As
explained above, King has extensive academic and professional credentials with regard to
the music industry and the convergence of pop culture and music. Based on his
experience and scholarship, King bears the necessary qualifications to engage in the type
of comparative discussion set forth in his expert report. See also Ty, Inc. v. Publications

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Int’l Ltd., 2004 WL 2359250, at *6 (N.D. Ill. Oct. 19, 2004) (“[A]n expert informed by
observation and experience might determine the relative importance of the infringing
content to the value of the infringing work as a whole.”).

       The Court also finds that King’s basic methodology for evaluating the relative
importance of various factors to the success of “Dark Horse” may be considered by the
jury. King’s opinion is informed by a lengthy and detailed analysis of relevant sources
such as chart successes, marketing materials, and journalistic and historical evidence of
the success of defendants and “Dark Horse.” In addition, King’s methodology stems
from the apparently reasonable assumption that the success of a given work of music can
best be understood within its cultural and historical context. Accordingly, the Court finds
that King’s qualitative analysis, which is based on his demonstrated expertise, may be
helpful to the factfinder in determining the relative importance of the “Joyful Noise”
ostinato to the success of “Dark Horse.” See Daubert, 509 U.S. at 597 (expert testimony
may be admissible if it “rests on a reliable foundation and is relevant to the task at
hand.”).

       Furthermore, the Court finds that plaintiffs have not presented a persuasive reason
to preclude King from testifying that the “Joyful Noise” ostinato contributed a “small,
insignificant percentage” to the success of “Dark Horse.” Unlike King’s opinion in
Fahmy, his opinions here are not expressed as remarkably precise percentages. King’s
use of the phrase “small, insignificant percentage” is merely another way of saying “very
insignificant.” The Court does not find that this terminology carries a substantial risk that
a jury will attach undue weight to the description provided.

      Accordingly, the Court DENIES plaintiffs’ motion to exclude King’s expert
testimony.

      C.        Plaintiffs’ Daubert Motion No. 3 (Dkt. 334, filed on June 12, 2019)
      Plaintiffs move to exclude the testimony of defendants’ expert, Charles Diamond.
Dkt. 334. Diamond is an economist and is offered as a rebuttal witness for plaintiffs’
expert witness, Michael Einhorn. In his rebuttal report, Diamond concludes that
Einhorn’s methodology of calculating Capitol Records’ net profits from “Dark Horse” is
contrary to the fundamental principles of the economics discipline. Dkt. 334-1. Plaintiffs
contend that Diamond, as a labor and employment economist, does not have the


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appropriate qualifications and specialized knowledge to opine on economic, accounting,
and financial matters in the music industry. Dkt. 334 at 4. Plaintiffs further contend that
his report relies on undisclosed and unreliable information that defendants never
produced to plaintiffs, and that, by critiquing Einhorn’s failure to include costs when
calculating “Dark Horse’s” profits, Diamond impermissibly provided an alternative
damages model instead of merely contradicting, impeaching, or defusing Einhorn’s
testimony. Id. at 8.

             i.         Diamond’s Qualifications

       The Court has reviewed Diamond’s qualifications and rebuttal reports and finds
that Diamond is qualified to testify on whether Einhorn’s methodology is contrary to
fundamental principles of the economics discipline. Diamond is trained as an economist
and bears the necessary qualifications to engage in the type of analysis set forth in his
rebuttal report. See Dkt. 334-1 (“Diamond Report”) at 2 (listing his qualifications,
including his training in economics, his experience in preparing economic and statistical
assessments for litigation, and his publications in academic journals). Diamond does not
offer any testimony that requires knowledge or expertise specific to the music industry;
thus, his purported lack of experience in that industry does not disqualify him from
providing an opinion about the purported flaws in Einhorn’s economic analysis.

            ii.         Appropriate Rebuttal Testimony

       The Court finds that Diamond’s critique of Einhorn’s failure to include costs when
calculating profits is appropriate rebuttal testimony and is not, as plaintiff contends, an
alternative damages model.

           iii.         Undisclosed Assumptions

      In forming his rebuttal opinion, Diamond relied on the following assumptions:

           “I am informed that, for an album by a superstar artist like Katy Perry, 18
            months is a conservative estimate, since the album cycle is often much
            longer.”
           “[I] am informed that, because Prism spawned so many hit singles and four
            years transpired between Prism and Perry’s next album, the active promotion

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               cycle likely lasted longer than 18 months, which makes UMG’s conservative
               approach even more reasonable.”
              “I am informed that these companies are separately incorporated, have their
               own employees, and their own expenses.”
              “[I] am informed that this entity charges UMG-affiliated entities a lower rate
               than it charges third-party entities.”
              “[I] am informed that Universal Music Logistics charges the same rates to
               UMG-related entities that it charges to unrelated third parties.”
              “I am informed that the UMG-related entities who provide those services
               charge the same rate to other UMG-related entities that they charge to
               unrelated third parties.”

Dkt. 334-1 at 12–13. Plaintiffs seek to exclude Diamond’s opinions that rely on these
assumptions because the evidence underlying those assumptions were never disclosed to
them. Defendants respond that it “is standard for experts to be provided with factual
assumptions, and the specific assumptions which [d]efendants provided to Diamond will
be established at trial through the testimony of a representative of Capitol Records.” Dkt.
377 at 6.

       At the hearing, plaintiffs indicated that they had an opportunity to depose Diamond
but elected not to do so. To the extent plaintiffs wanted to obtain information about the
basis of the assumptions in Diamond’s rebuttal report, they could have sought additional
discovery or deposed Diamond. Accordingly, the Court is not persuaded that the
nondisclosure of the facts underlying these assumptions is a basis for excluding
Diamond’s testimony at trial.

     In accordance with the foregoing, the Court DENIES plaintiff’s motion to exclude
Diamond’s expert testimony.

      D.        Plaintiffs’ Daubert Motion Nos. 4, 5 (Dkt. 336, 335 filed on June 12,
                2019)
      Plaintiffs seek to exclude testimony of defendants’ experts Zachary St. Martin and
Bill Rosenblatt. Dkt. 336 at 1; Dkt. 335 at 1. St. Martin and Rosenblatt are being offered
to provide background information about Myspace and YouTube and to opine that it is
unreasonable for a person to have viewed “Joyful Noise” on either Myspace or YouTube

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without prior knowledge of the artist or song or without affirmative action. Plaintiffs
contend that both St. Martin and Rosenblatt lack requisite training and professional
experience to provide testimony on website engineering, functionality, or the individual
internet websites. Id. at 2. Plaintiffs also criticize the experts’ methodologies as being
unreliable, amateur, untested, and non-reviewed. Id. Lastly, plaintiffs claim that St.
Martin’s and Rosenblatt’s testimonies are irrelevant and will confuse the jury. Id.

             i.         Zachary St. Martin

       St. Martin graduated from Tulane University School of Law and has been a
practicing attorney since 2001. Dkt. 336, Ex. A (“St. Martin Report”) ¶ 2. In 2006, he
became the Director of Business and Legal Affairs for Fox Interactive Media, which at
the time was the parent company of Myspace. Id. ¶ 3. During his time at Fox, he worked
on legal matters related to Myspace services. Id. ¶ 4. He continued to work for Myspace
until April 2015, at which time he left to work for Sony Pictures. Id. ¶ 3. Through his
work with Myspace, St. Martin contends that he became familiar with the product. Id. ¶
4. He also was a “heavy user” of Myspace for over a decade. Id. ¶ 5.

        St. Martin is expected to provide testimony on how users generally viewed or
listened to content on Myspace between 2008 and 2013 and the circumstances under
which an individual could possibly have come upon “Joyful Noise” as it appeared on
Myspace. Dkt. 336 at 1. St. Martin opines that a person who had no knowledge of
“Joyful Noise” could not have reasonably come across “Joyful Noise” on Myspace
without affirmative action. St. Martin Report ¶ 9. According to St. Martin, a person
would need to have known of the song or its artists in order to find the song on Myspace.
Id. St. Martin is also expected to provide testimony on how each “play” does not mean
that: (1) a person listened to the song; (2) it was played in its entirety; or (3) a person
initiated the song as opposed to a bot. Id. at 1, 2. St. Martin’s opinions are based in part
on screenshots of Myspace pages using the Internet Archive between 2008 and 2013. Id.

            ii.         Bill Rosenblatt

      Rosenblatt is the president and founder of GiantSteps Media Technology
Strategies, a consulting firm specializing in the media and content technology industries.
Dkt. 379 at 7. Rosenblatt has a degree in electrical engineering and computer science
from Princeton University and a degree in computer and information science from the

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University of Massachusetts. Id. In the past 19 years, Rosenblatt has consulted multiple
clients, including music companies, on technology and business issues related to
copyright law. Id. at 7-8. Rosenblatt became “intimately familiar with YouTube’s
features, content, and user base, including YouTube’s features for accessing content”
when he worked with a digital music start-up that was in competition with YouTube and
when he was retained by YouTube for a legal matter. Id. at 9-10. He has also testified on
behalf of other media and music companies in other cases about YouTube. Id. at 10.
       Rosenblatt is expected to provide testimony on how users generally viewed or
listened to content on YouTube between 2008 and 2013 and the circumstances under
which an individual could have come upon a YouTube video of “Joyful Noise.” Dkt. 335
at 1. Specifically, Rosenblatt opines that: (1) view counts are not evidence that a specific
person took an affirmative step to watch a video; (2) view counts are not inherently
reliable indicators of the number of people who actually watched the video; and (3) the
view counts of “Joyful Noise” are not significant in the context of the larger YouTube
universe. Id. Rosenblatt provides information about the large number of YouTube music
videos and views between 2008 and 2013 and concludes that the view count of “Joyful
Noise” is extremely small when considering the size of the YouTube universe. Id. Ex. A.
Rosenblatt also opines that “it was not reasonably possible for any individual to have
come upon ‘Joyful Noise’ on YouTube so as to hear it without having taken specific
affirmative action.” Id.
           iii.         Discussion

       As a preliminary matter, the Court finds that St. Martin and Rosenblatt possess
relevant experience and knowledge of digital media and online platforms and are
qualified to provide background information about the functionality of Myspace and
YouTube between 2008 and 2013 and to opine about what one would have had to do to
access “Joyful Noise” on those websites. St. Martin and Rosenblatt may also opine about
whether the play or view counts of “Joyful Noise” on Myspace and YouTube accurately
reflect how many people actually heard the song and whether those view or play counts
are significant relative to the number of views and plays garnered by other songs on
YouTube and Myspace. However, St. Martin and Rosenblatt may not opine about the
ultimate probability or likelihood that an individual would have accessed “Joyful Noise.”
Such testimony invades the province of the jury as factfinder as it is for the jury to decide



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whether the defendants in this case had a reasonable opportunity to hear “Joyful Noise”
through Myspace or YouTube.

      In accordance with the foregoing, plaintiffs’ motion to exclude the testimony of St.
Martin and Rosenblatt is GRANTED in part and DENIED in part. St. Martin and
Rosenblatt may offer testimony consistent with what was disclosed in their expert
reports, but they may not opine about the ultimate probability or likelihood that an
individual would have accessed “Joyful Noise.”

V.    DEFENDANTS’ DAUBERT MOTIONS
      A.        Defendants’ Daubert Motion No. 1 (Dkt. 348, filed on June 12, 2019)
       Defendants seek to exclude the portions of Todd Decker’s expert testimony that
rely upon evidence that is unauthenticated, irrelevant, or not timely disclosed. Dkt. 348.
Specifically, defendants seek to exclude testimony regarding: (1) four YouTube videos of
unknown origin containing “mash-ups” that purport to compare the sound recordings of
“Dark Horse” and “Joyful Noise”; (2) lay-listener impressions regarding the alleged
similarities between the two sound recordings; (3) the similarity of texture in both “Joyful
Noise” and “Dark Horse”; and (4) any opinion or analysis provided in a declaration
prepared by Decker and served on May 28, 2019. Id. at 2.
              i.        Mash-Up Videos

       In his rebuttal report, Decker states that “several individuals have constructed
comparative audio analyses of the ostinatos at issue in the form of YouTube mashups”
and opines that “[t]hese acts of popular musicology express the perception of
contemporary listeners . . . that the two tracks at issue bear a relationship that can only be
described as . . . ‘Dark Horse,’ taking or copying highly characteristic material from the
earlier track, ‘Joyful Noise.’” Dkt. 388-1 at 45. Defendants argue that Decker should be
precluded from relying on “mash-up” YouTube videos to compare the sound recordings
of “Dark Horse” and “Joyful Noise” because those videos cannot be verified or
authenticated, and because the creators of those videos may have changed the songs to
make them sound more similar. Dkt. 348 at 12.
      Plaintiffs rely on Williams v. Gaye, 895 F.3d 1106 (9th Cir. 2018), in which the
Ninth Circuit held that the playing of mash-up audio recordings in connection with the


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musicologist’s testimony was not an abuse of discretion. Id. at 1126–27. However, the
expert in Williams created the mash-up recordings herself. Id. at 1128. Here, Decker
admitted in his deposition that he did not know the “full extent of alterations” made to the
sound recordings in the mash-up videos and that it was “possible” that those users “made
additional alterations to the sound recordings of which [he] is not aware[.]” Dkt. 348-1 at
136–137. Here, in the absence of testimony from the creators of those videos as to the
manner by which they altered the sound recordings, the Court finds that these videos
cannot be properly authenticated under Federal Rule of Evidence 901 (“To satisfy the
requirement of authenticating or identifying an item of evidence, the proponent must
produce evidence sufficient to support a finding that the item is what the proponent
claims it is.”). And although an expert witness may rely on inadmissible data in support
of his opinion, he may only do so if experts in his field would reasonably rely on that data
in forming their opinion or if their probative value outweighs their prejudicial effect.
Fed. R. Evid. 703. Here, there is no evidence in the record demonstrating that
musicologists rely on similar YouTube videos when engaging in a comparative objective
analysis of two songs. And in the absence of testimony establishing how the sound
recordings were altered, these videos appear to have no probative value as they may not
be an accurate representation of either sound recording.
      Accordingly, the Court finds that Decker may not rely on, nor may plaintiffs play,
the mash-up YouTube videos during trial.
            ii.         Lay-Listener Opinions

       In determining whether two works are “substantially similar” for the purposes of
copyright infringement, the Ninth Circuit “employ[s] a two-part analysis: an objective
extrinsic test and a subjective intrinsic test.” Swirsky v. Carey, 376 F.3d 841, 845 (9th
Cir. 2004). “The extrinsic test considers whether two works share a similarity of ideas
and expression as measured by external, objective criteria [and] . . . requires analytical
dissection of a work and expert testimony.” Id. (internal quotations omitted). “[T]he
subjective question of whether works are intrinsically similar”––i.e., the subjective
intrinsic test––“must be left to the jury.” Id.
       In his rebuttal report, Decker opines that “Ferrara’s insistence that musical notation
and transcription are essential to this case is a false assertion designed to distract the ear
from the very evident, clearly audible relationship between these two ostinatos, a
relationship heard by many and demonstrated with skill from severally mutually

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reinforcing strategies in social media.” Dkt. 338-1 at 48. Defendants contend that
Decker’s reliance on lay-listener opinions should be precluded because the opinions
improperly invade the jury’s role in conducting the subjective intrinsic test. Dkt. 348 at
14. The Court agrees that this testimony invades the province of the jury and precludes
Decker from testifying about how the two songs are perceived by lay listeners. See
Cottrill v. Spears, 2003 WL 21223846, at *8 (E.D. Pa. May 2003) (excluding expert
testimony about how the songs “are aurally perceived by the lay listener” because it went
to the intrinsic test, not the extrinsic test, and thus, “regardless of its reliability, does not
aid the trier of fact in the detailed examination of the elements of the two works required
under the extrinsic test”).
           iii.         Decker’s Untimely Declaration
       Defendants seek to exclude testimony based on a declaration authored by Decker
and served on May 28, 2019—four days after the close of expert discovery and twenty-
five days after the deadline for rebuttal reports. Dkt. 348 at 16–17. Plaintiffs respond
that Decker’s May 28, 2019 declaration will not be the subject of his testimony at trial.
Dkt. 367 at 7. However, at the hearing, defendants noted that Einhorn’s testimony relies
in part on the substance of Decker’s untimely declaration. The Court is not persuaded
that defendants will be prejudiced by Einhorn’s reliance on this declaration at trial. The
substance of the declaration is straightforward—Decker merely states that the total
playing time of “Dark Horse” is 212 seconds and that the “Joyful Noise” ostinato played
a total of 95 seconds during “Dark Horse.” Dkt. 348-2 at 82. To the extent defendants
disagree with that statement, it would not be unduly burdensome for their musicologist
expert to conduct a similar analysis to determine how many seconds the “Joyful Noise”
ostinato plays during “Dark Horse.”
           iv.          Testimony on “Texture”
       Defendants argue that Decker’s opinion about the textural similarities of the two
songs in his rebuttal report should be excluded because he did not disclose that opinion in
his opening report. Plaintiffs respond that this testimony is appropriate to rebut Ferrara’s
opinion about the similarity of the ostinatos to prior art. According to Decker, Ferrara’s
prior art exhibits do not “demonstrate anything close to the spare textural qualities . . .
that are shared by the melodic ostinatos at issue . . .” Dkt. 348-2. Plaintiffs also note that
defendants questioned Decker about this opinion in his January 2018 deposition. Dkt.
368 at 7. It appears that Decker’s opinion about the textural similarities of the two songs

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qualifies as proper rebuttal to Ferrara’s report and that, in any event, defendants would
not be prejudiced by the introduction of this testimony because they have had an
opportunity to question Decker about this particular opinion.
       In light of the foregoing, the Court GRANTS in part and DENIES in part
defendants’ motion to exclude portions of Decker’s expert testimony. Decker is
precluded from relying on mash-up YouTube videos or offering his opinion about how
lay-listeners have perceived similarities between the two songs. Decker may, however,
provide testimony about the textural similarities between the two songs to rebut Ferrara’s
opinion about the similarity of the ostinatos to prior art.
      B.        Defendants’ Daubert Motion No. 2 (Dkt. 351, filed on June 12, 2019)
       Defendants move to exclude the testimony of plaintiffs’ damages expert, Michael
Einhorn, at trial. Dkt. 351. According to defendants, Einhorn plans to provide the
following “improper” opinions at trial: (1) that defendants’ net profit is equivalent to their
gross revenue; (2) that actual damages should amount to 15% of the publishing income
earned by “Dark Horse” because plaintiffs could have hypothetically negotiated
ownership of 15% of the copyright in the “Dark Horse” composition; (3) that the song
“Dark Horse” was critically important in selling PRISM; and (4) that Ferrara’s
methodology of assessing the musicological value of the “Joyful Noise” ostinato is
flawed. Id. Defendants also move to exclude testimony related to Einhorn’s allegedly
untimely “updated” expert reports. Id.

       As a preliminary matter, the Court finds that Einhorn is qualified to provide an
opinion on plaintiffs’ damages and defendants’ profits resulting from the alleged
infringement. Einhorn has worked as a professional economist since receiving a Ph.D in
economics in 1981. Dkt. 351-1, Ex. C (“Einhorn Report”) ¶ 2.1. He has testified as an
expert at depositions and trials in several cases, including cases involving the valuation of
intellectual property owned by musicians and record labels. Id. ¶ 2.3. And as explained
below, the Court finds that defendants’ concerns with Einhorn’s testimony go to its
weight and not its admissibility. Any purported flaws in his methodology or the evidence
he relied upon in reaching his opinion are matters for cross-examination and argument.




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             i.         Einhorn’s Calculation of Net Profit

       Defendants contend that Einhorn’s opinions regarding profits should be excluded
because he failed to subtract defendants’ costs from their revenue. Dkt. 351 at 15. It
appears that Einhorn decided not to incorporate defendants’ costs in his analysis because
he was not satisfied that defendants had proven the amounts of their deductible expenses.
Id. The Court is not persuaded that this purported flaw in Einhorn’s methodology renders
his opinion inadmissible under Daubert. Einhorn’s failure to consider costs when
calculating profits goes to the weight of his testimony and can be addressed on cross-
examination.

            ii.         Einhorn’s Calculation of Actual Damages

         Einhorn opines that “a reasonable outcome for copyright negotiations for rights in
‘Joyful Noise’ would have granted to Plaintiffs a 15 percent share of copyright royalties .
. . in the musical composition ‘Dark Horse.’” Einhorn Report ¶ 5.12 He explained his
methodology as follows: “There are now five listed primary writers of “Dark Horse”—
“Katy Perry, Max Martin, Dr. Luke, Cirkut, and Sarah. Together, the five primary
writers owned a copyright share of 90 percent of the work. Each of the five writers then
received an equal royalty share of 18 percent.” Id. ¶ 5.13. Relying on Decker’s opinion
about the significance of the “Joyful Noise” ostinato in “Dark Horse,” Einhorn opines
that the “taking of the [‘Joyful Noise’] ostinato would then represent a sixth contribution
to ‘Dark Horse’ that must be assigned some share of royalties paid.” Id. ¶ 5.15. Einhorn
concludes that “[i]f each of [the] five primary shares are equally valued at eighteen
percent of royalties paid, each of [the six shares] would then be valued at fifteen percent.”
Id. ¶ 5.16. Thus, according to Einhorn, plaintiffs could have reasonably negotiated for
15% of the copyright royalties of “Dark Horse.” Id. ¶ 5.17. Based on this figure,
Einhorn estimates how much plaintiffs would have earned as a licensing payment for
their share of “Dark Horse.” Id. ¶ 5.19.

      Defendants contend that this opinion should be precluded because it: “(a) fail[s] to
consider additional, highly relevant evidence of prior transactions; (b) misstate[s] the
evidence in the record; and (c) [is] entirely outside of his professed knowledge and
expertise as an economist.” Dkt. 351 at 21. Defendants point out Einhorn’s failure to
consider the fact that Chike Ojukwu testified in his deposition that he licensed the beat,
which includes the “Joyful Noise” ostinato, to Marcus Gray for $300. Id. at 22.

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Plaintiffs respond that Einhorn’s opinion is based on an application of cooperative game
theory and that game theory is often used by economists to establish values. Dkt. 367 at
8. Plaintiffs also contend that Einhorn rightfully chose the negotiations among the
writers of “Dark Horse” as the correct benchmark to determine plaintiffs’ hypothetical
share of “Dark Horse’s” copyright royalties.

      The Court is not persuaded that the purported flaws in Einhorn’s analysis merit
excluding his testimony under Daubert. These issues go to the weight of his testimony
and can be addressed on cross-examination.

           iii.         Apportionment

       Einhorn’s calculations of revenues related to “Dark Horse” includes all revenue
from the PRISM album, without any apportionment. Einhorn Report ¶ 4.5. Einhorn
opines “that ‘Dark Horse’ was one of the most important commercial songs on the album
PRISM, if not the most important. Given the demonstrated importance of the song ‘Dark
Horse’ to generating sales of the PRISM album, any method of apportioning album or
concert revenues to ‘Dark Horse’ by simply dividing total sales by the total number of
tracks or songs is not an economic means of valuing its relative worth.” Id. ¶ 9.26.
Defendants seek to exclude Einhorn’s opinion regarding apportionment on the grounds
that the purported rationales for his opinion are unreliable. Dkt. 351 at 24. For example,
defendants critique Einhorn’s opinion that the appearance of “Dark Horse” in concert
tours means that the song was important to the success of PRISM because every other
song from PRISM was also played during the concert tour. Id. The Court also finds that
these issues go to the weight of Einhorn’s testimony rather than its admissibility and can
be addressed on cross-examination.

           iv.          Einhorn’s Rebuttal Report

       Einhorn submitted a rebuttal report addressing Ferrara’s musicological value
assessment of the “Joyful Noise” ostinato in “Dark Horse.” See Dkt. 351-1, Ex. 7
(“Einhorn Rebuttal”). In this report, Einhorn opines that “Ferrara presents no evidence
that his technique or related valuations has ever appeared in any peer-reviewed paper or
formed the foundation for fees for licensing of music samples in the music business.” Id.
¶ 4.8. Ferrara only opines that 3.6% of “Dark Horse” is based on the “Joyful Noise”
ostinato. He does not argue that this percentage reflects the monetary value of the

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“Joyful Noise” ostinato to “Dark Horse” in the event of an infringement. Einhorn’s
rebuttal report attempts to rebut a theory that has not been advanced by Ferrara and is
therefore irrelevant and confusing. Accordingly, the Court excludes Einhorn’s rebuttal
testimony.

            v.          Einhorn’s “Updated” Reports

       Defendants represent that Einhorn submitted two “updated” reports after the
relevant deadlines and seek to exclude any testimony based on those reports because,
defendants “were frustrated or denied the ability to rebut Einhorn’s constantly changing
and new opinions.” Dkt. 351 at 30. One example of what defendants contend are
“multiple substantive changes” is a sentence that Einhorn changed from, “The results of
other negotiations involving similar situations are useful benchmarks to inform this
analysis,” to, “The results of other negotiations involving similar situations can
sometimes be useful benchmarks to inform this analysis.” Id. at 28.

      Plaintiffs respond that Einhorn’s updated opinions merely supplemented or
corrected his expert reports pursuant to Federal Rule 26(e)(2). Dkt. 367 at 12. Plaintiffs
also note that the updated reports were served on or before May 28, 2019—19 days
before the cut-off for filing pre-trial disclosures under Federal Rule 26(a)(3).

      Under Rule 37(c)(1), opinions not included in expert reports pursuant to Rule 26(a)
must be excluded unless the lack of disclosure was “substantially justified” or
“harmless.” However, Rule 26(a)(2)(B) “does not limit an expert’s testimony simply to
reading his report[.] The rule contemplates that the expert will supplement, elaborate
upon, and explain his report in his oral testimony.” Hall v. City of Fairfield, 2012 WL
1155666, at *4 (E.D. Cal. Apr. 5, 2012). Here, the Court finds that the nature of
Einhorn’s “updates” are fairly within the scope of supplementing, elaborating upon, or
explaining his report in oral testimony and sees no reason to exclude these updates.

       Accordingly, the Court DENIES in part and GRANTS in part defendants’ motion
to exclude Einhorn’s testimony.




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VI.   ISSUES RAISED AT THE HEARING
      A.        Defendants’ Arguments Regarding the Validity of Plaintiffs’ Copyright
       At the hearing, plaintiffs sought to preclude defendants from arguing that
plaintiffs’ copyright of the “Joyful Noise” composition is invalid. At the hearing,
defendants represented that they plan to argue that the copyright is invalid because
plaintiffs did not disclose that “Joyful Noise” is based on a derivative work in their
application for a copyright and because the beat that contains the ostinato at issue is not
an original work. Plaintiffs responded that this was the first time they learned that
defendants were pursuing these specific contentions. Plaintiffs argued that defendants
should be precluded from making these arguments at trial because defendants had
responded to plaintiffs’ interrogatory about this defense with objections and never
amended their answer to disclose the facts that they are now relying on to argue that the
copyright is invalid. Plaintiffs, however, indicated that they did not move to compel a
further response from defendants. Accordingly, the Court finds that there is no basis for
excluding these arguments because defendants were never compelled to provide a further
response.

        However, defendants do not set forth sufficient details about their contentions as to
why the copyright is invalid in either the proposed pretrial conference order or their
memorandum of contentions of fact and law. Defendants merely state in the proposed
pretrial conference order that they will contest plaintiffs’ position that it owns a valid
copyright in “Joyful Noise.” Dkt. 390 at 4. And defendants’ memorandum of
contentions of fact and law explains only that defendants “will present evidence that
Plaintiffs’ copyright registration does not satisfy this standard due to its inclusion of
materially false or inaccurate information related to the nature, ownership, or chain of
title to the work.” Dkt. 385 at 29. Defendants are thus directed to amend the pretrial
conference order by July 10, 2019 to reflect their contentions and any evidence upon
which they intend to rely.

      B.        Perry’s Concert Revenues
        At the hearing, counsel for plaintiffs noted that the Court had stayed discovery on
Perry’s concert revenues until after the determination of liability and inquired whether
they would have an opportunity to pursue this discovery before damages phase of the
trial. In its order on defendants’ motion for partial summary judgment, the Court

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determined that any licensed performances by defendants of “Dark Horse” could not have
infringed plaintiffs’ performance rights in “Joyful Noise” and that profits from those
performances are therefore not relevant. Dkt. 246 at 16. However, the Court
acknowledged the possibility that certain revenues from “infringements that allegedly
preceded the performances themselves” could be the basis of a damages award. Id.
Plaintiffs, however, appear to misunderstand this order and contend that if liability is
found in their favor, they would have a “right to recover a portion of those revenues
reflecting the performance of the infringing song[.]” Dkt. 383 at 9. The Court’s
summary judgment order forecloses plaintiffs’ contention that they may be entitled to
concert revenues reflecting the performance of “Dark Horse.” To the extent plaintiffs
still intend to seek a portion of the concert revenues, plaintiffs are directed to identify by
July 10, 2019 what, other than the performances, would give rise to concert revenues
attributable to defendants’ alleged infringement of “Joyful Noise.”

V.       CONCLUSION
         In accordance with the foregoing, the Court DENIES plaintiffs’ Motion in limine
No. 1.
         The Court DENIES plaintiffs’ Motion in limine No. 2.
         The Court DENIES plaintiffs’ Motion in limine No. 3.
         The Court GRANTS defendants’ Motion in limine No. 1.
         The Court GRANTS defendants’ Motion in limine No. 2.
      The Court DENIES defendants’ Motions in limine Nos. 4, 5, and 6, without
prejudice to their raising objections as to the foundation of Marcus Gray’s or Crystal
Gray’s testimony on plaintiffs’ concert performances.

       The Court GRANTS in part and DENIES in part defendants’ Motions in limine
Nos. 3 and 9. Plaintiffs may offer testimony about the record label’s refusal to provide
sales records as rebuttal evidence. Plaintiffs may not introduce the Billboard charts for
the purpose of establishing that “Joyful Noise or Our World Redeemed experienced
commercial success or a high number of sales, but they may offer the Billboard charts for
the purpose of showing that “Joyful Noise” and Our World Redeemed appeared on those
charts and to show that those works were relatively popular in the Christian music

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market. The Court will exclude the summary charts created by Billboard for purposes of
this litigation unless plaintiffs obtain all the underlying business records from Billboard
before trial. The Court reserves ruling on the admissibility of any weekly Billboard
charts until plaintiffs have had an opportunity to lay a foundation for that evidence.
      The Court DENIES defendants’ Motion in limine No. 7.
       The Court DENIES defendants’ Motion in limine No. 8, without prejudice to their
raising objections as to the foundation of this evidence at trial.
       The Court GRANTS in part and DENIES in part defendants’ Motion in limine
No. 10. Plaintiffs may not introduce evidence about Gottwald’s status as a voting
member of the GRAMMYs to demonstrate that Gottwald accessed “Joyful Noise”
through the GRAMMYs. The Court reserves ruling on whether evidence about
Gottwald’s status as a voting member of the GRAMMYs may be received in rebuttal
until after Gottwald has testified at trial.
      The Court GRANTS Defendants’ Motion in limine No. 11.
      The Court DENIES plaintiffs’ motion to exclude Ferrara’s expert testimony.
      The Court DENIES plaintiffs’ motion to exclude King’s expert testimony.
      The Court DENIES plaintiffs’ motion to exclude Diamond’s expert testimony.
      In accordance with the foregoing, plaintiffs’ motion to exclude the testimony of St.
Martin and Rosenblatt is GRANTED in part and DENIED in part. St. Martin and
Rosenblatt may offer testimony on how users interacted with Myspace and YouTube
between 2008 and 2013 and opine about what one would have had to do to access “Joyful
Noise” on those websites. St. Martin and Rosenblatt, however, may not opine about the
ultimate probability or likelihood that an individual would have accessed “Joyful Noise.”

       The Court GRANTS in part and DENIES in part defendants’ motion to exclude
portions of Decker’s expert testimony. Decker is precluded from relying on mash-up
YouTube videos or offering his opinion about how lay-listeners have perceived
similarities between the two songs. Decker may, however, provide testimony about the
textural similarities between the two songs to rebut Ferrara’s opinion about the similarity
of the ostinatos to prior art.


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      The Court DENIES in part and GRANTS in part defendants’ motion to exclude
Einhorn’s testimony.
       Defendants are directed to amend the pretrial conference order by July 10, 2019 to
reflect their specific contentions as to why the plaintiffs’ copyright is invalid and any
evidence upon which they intend to rely to support this defense.
       To the extent plaintiffs still intend to seek a portion of the concert revenues,
plaintiffs are directed to identify by July 10, 2019 what, other than the performances,
would give rise to concert revenues attributable to defendants’ alleged infringement of
“Joyful Noise.”
      IT IS SO ORDERED.
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                                                  Initials of Preparer            CMJ




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